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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

DIOGENES REYNOSO ALVAREZ,
individually and on behalf of others
similarly situated,
                                                             No. 20 CV 3715 -LTS-SN
                              Plaintiff(s),

               -against-                                             ORDER

BURGOS RESTAURANT CORP. (D/B/A
BURGOS RESTAURANT CAFÉ),
ZERVIAN CAFÉ CORP (D/B/A BURGOS
RESTAURANT CAFÉ), JACKELYN
BURGOS, and JOSE BURGOS,

                              Defendant(s).



               Plaintiff has filed a notice of voluntary dismissal without prejudice pursuant to

Federal Rule of Civil Procedure 41(a)(1)(A)(i). Plaintiff is hereby ORDERED to file a letter

with the Court within 10 days stating whether the proposed dismissal is pursuant to a settlement.

If the dismissal is pursuant to a settlement, it is hereby ORDERED that the parties file the

proposed settlement agreement for Court approval of the agreement as fair and reasonable within

45 days of the date hereof. The approval request must be supported by a declaration and any

other evidence necessary to support the requested determination.

       SO ORDERED.

Dated: New York, New York
       October 19, 2020
                                                             /s/ Laura Taylor Swain
                                                             LAURA TAYLOR SWAIN
                                                             United States District Judge




ALVAREZ - ORDER                                  VERSION OCTOBER 19, 2020                          1
